                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 1 of 16 Page ID #:1



                        1    RUSS, AUGUST & KABAT
                             Larry C. Russ, State Bar No. 082760
                        2    lruss@raklaw.com
                             Irene Y. Lee, State Bar No. 213625
                        3    ilee@raklaw.com
                             Timothy M. Baumann, State Bar No. 322982
                        4    tbaumann@raklaw.com
                             12424 Wilshire Boulevard, 12th Floor
                        5    Los Angeles, California 90025
                             Telephone: (310) 826-7474
                        6    Facsimile:(310) 826-6991
                        7    Attorneys for Plaintiff
                             MATISSE FOOTWEAR, INC.
                        8
                        9
                       10                                          UNITED STATES DISTRICT COURT
                       11                                         CENTRAL DISTRICT OF CALIFORNIA
RUSS, AUGUST & KABAT




                       12
                       13    MATISSE FOOTWEAR, INC., a                                 Case No. ______________________
                             California corporation,
                       14                                                              COMPLAINT FOR:
                                                                  Plaintiff,
                       15                                                              1.   FEDERAL TRADEMARK
                             vs.                                                            INFRINGEMENT IN
                       16                                                                   VIOLATION OF LANHAM
                                                                                            ACT, 15 U.S.C. §1125(a)(1)(A);
                       17    STYLELINE STUDIOS                                         2.   COMMON LAW
                             INTERNATIONAL LTD., D/B/A                                      TRADEMARK
                       18    J/SLIDES, D/B/A J/SLIDES NYC, a                                INFRINGEMENT;
                             Chinese corporation; and JSL STUDIOS                      3.   FALSE DESIGNATION OF
                       19    INTL LLC, D/B/A J/SLIDES, D/B/A                                ORIGIN AND FALSE
                             J/SLIDES NYC, a New York limited                               REPRESENTATION IN
                       20    liability company,                                             VIOLATION OF LANHAM
                                                                                            ACT, 15 U.S.C. §1125(a)(1)(A);
                       21                                         Defendants.          4.   FEDERAL UNFAIR
                                                                                            COMPETITION; AND
                       22                                                              5.   UNFAIR COMPETITION
                                                                                            UNDER CALIFORNIA
                       23                                                                   STATUTE AND COMMON
                                                                                            LAW.
                       24
                                                                                       JURY TRIAL DEMANDED
                       25
                                         Plaintiff Matisse Footwear, Inc. (“Plaintiff” or “Matisse”) as and for its
                       26
                             complaint against Defendant Styleline Studios, Ltd., d/b/a J/Slides and J/Slides NYC
                       27
                             and JSL Studios Intl LLC, d/b/a J/Slides and J/Slides NYC (collectively, “J/Slides”
                       28
                             or “Defendants”), alleges as follows:
                              210804 Beach by Matisse Complaint                    1
                                                                                COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 2 of 16 Page ID #:2



                        1                1.           This case arises from Defendants’ intentional infringement and
                        2    violation of Plaintiff’s protected trademark.
                        3                                                The Matisse Story
                        4                2.           Matisse is a national footwear company that has designed and marketed
                        5    a broad range of women’s footwear products since 2001. Since Matisse launched, it
                        6    has expanded to three collections each season: Matisse, Coconuts by Matisse, and
                        7    Beach by Matisse. Each collection showcases the aesthetic and craftsmanship for
                        8    which Matisse is known. Each brand is sold at better department stores such as
                        9    Nordstrom, Bloomingdales, Macy’s; specialty chains such as Anthropologie, Free
                       10    People, and Boot Barn; large retail chains, such as DSW, TJMaxx, and Kohls; and
                       11    over 2,000 boutiques nationwide. Matisse products are also distributed in Canada,
RUSS, AUGUST & KABAT




                       12    Australia, Japan, France, Turkey, and the United Kingdom; and through its rapidly
                       13    growing direct-to-consumer business.
                       14                3.           Matisse is recognized not only for the value-quality, craftsmanship, and
                       15    artisanal touches of each of its footwear collections, but also for its emphasis on
                       16    socially conscious production. Matisse produces footwear in five countries, where
                       17    most factories are family-owned and operated. During its partnerships with those
                       18    manufacturers, Matisse socially audits their factories to ensure workers are
                       19    compensated and treated fairly based on the high standards set by Matisse. Matisse
                       20    also strives to source sustainable and reusable materials for its footwear collections,
                       21    including by using recycled leathers and textiles wherever possible. Matisse uses
                       22    technological advances to reduce watershed waste and nominated tanneries in order
                       23    to produce stylish, artisanal products using cleaner and greener methods.
                       24                4.           In that vein, Matisse launched a number of high-quality footwear
                       25    collections.
                       26                5.           In 2019, Matisse began marketing and distributing a women’s footwear
                       27    collection under the BEACH BY MATISSE mark (the “BEACH Mark”). Footwear
                       28    products sold under the BEACH Mark are affixed with the following mark:
                              210804 Beach by Matisse Complaint                   2
                                                                             COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 3 of 16 Page ID #:3



                        1
                        2
                        3
                                                                   BEACH
                                                                      IYZ~         BY


                        4
                        5                6.           Consumers responded to the BEACH Mark footwear collection with
                        6    wild enthusiasm. Since 2019, Matisse has sold millions of dollars of footwear
                        7    products in the United States, Australia, Canada, Mexico, the United Kingdom, and
                        8    across the European Union.
                        9                7.           The BEACH Mark product line further enhanced Matisse’s goodwill
                       10    and reputation and solidified its place in the industry as an innovative designer.
                       11                8.           Footwear products sold under the BEACH Mark come in a variety of
RUSS, AUGUST & KABAT




                       12    styles, a sampling of which is pictured below:
                       13
                       14
                       15
                       16
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                       25
                       26
                       27
                       28
                              210804 Beach by Matisse Complaint                3
                                                                          COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 4 of 16 Page ID #:4



                        1                9.           Matisse also invested time and money in advertising the women’s
                        2    footwear collection sold under the BEACH Mark, a sampling of which is pictured
                        3    below:
                        4
                        5
                        6
                        7
                        8
                        9
                       10
                       11
RUSS, AUGUST & KABAT




                       12
                       13                       lmroduelng
                                                designed          for
                                                                        Beach    by...,__
                                                                         e1'fonleaa
                                                                                                 Chle allelee
                                                                                        a1yle and ... ygm

                       14
                       15                                                   Shop   -
                                                                                   Now


                       16
                       17
                       18
                                         10.          Since its introduction in 2019, Matisse’s footwear collection under the
                       19
                             BEACH Mark has been featured in numerous publications. As an example, attached
                       20
                             hereto as Exhibit “A” is a true and correct copy of an article from Entertainment
                       21
                             Tonight, dated March 6, 2020, featuring the Palm Platform Slide Sandal, affixed
                       22
                             with the BEACH Mark, as one of “The Best Spring Shoes for 2020.”
                       23
                                         11.          As a result of Matisse’s success marketing the BEACH Mark, and
                       24
                             selling BEACH BY MATISSE products through well-known retailers, including
                       25
                             Nordstrom, Ross, Free People, and TJX, the public associates the BEACH Mark
                       26
                             solely with Matisse.
                       27
                       28
                              210804 Beach by Matisse Complaint                                             4
                                                                                                   COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 5 of 16 Page ID #:5



                        1                12.          Given its popularity and success, Matisse has applied to register the
                        2    BEACH Mark with the United States Patent and Trademark Office, under App. No.
                        3    90/865,302 and App. No. 90/865,324 for footwear in Class 25.
                        4                13.          Matisse’s success was noted by its competitors and would-be
                        5    competitors alike.
                        6                14.          J/Slides is a longtime competitor of Matisse. J/Slides and Matisse offer
                        7    similar leisure/women’s footwear at similar pricing to the same customers through
                        8    identical marketing channels (including appearing at the same trade shows).
                        9                15.          On information and belief, Defendants watched Matisse’s ascendancy
                       10    with interest and consciously and willfully hatched a scheme to copy its success by,
                       11    among other things, introducing its own collection of women’s footwear through
RUSS, AUGUST & KABAT




                       12    J/Slides using a mark substantially identical to the BEACH Mark (the “Infringing
                       13    Products”).
                       14                16.          Below is a comparison of Matisse’s BEACH Mark with J/Slides’
                       15    BEACH BY J/SLIDES mark (the “Infringing Mark”):
                       16                            Matisse’s BEACH Mark                  J/Slides’ Infringing Mark
                       17
                       18
                       19
                                                   BEACH                                    BEACH
                       20                                          BY   /11~
                                                                                                 hy   J/SLIDES

                       21
                       22
                       23                17.          Below is a comparison of Matisse’s footwear collection bearing the
                       24    BEACH Mark with a sample of J/Slides’ products, which Matisse is informed and
                       25    believes are likely to bear substantial resemblance to the Infringing Products:
                       26
                       27
                       28
                              210804 Beach by Matisse Complaint                   5
                                                                               COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 6 of 16 Page ID #:6



                        1                           Matisse’s Product Sample             J/Slides’ Product Sample
                        2
                        3
                        4
                        5
                        6
                        7
                        8
                        9
                       10
                       11
RUSS, AUGUST & KABAT




                       12
                       13
                       14
                       15
                       16
                       17
                       18
                       19
                       20
                       21
                       22
                       23
                       24
                                         18.          Matisse first become aware of Defendants’ infringing activity when
                       25
                             Michael Katz (“Mr. Katz”), the founder of Matisse, was informed by his colleagues
                       26
                             in the industry that Defendants issued a press release announcing the launch of the
                       27
                             Infringing Products using the Infringing Mark at FFANY, a tradeshow frequented
                       28
                              210804 Beach by Matisse Complaint                6
                                                                           COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 7 of 16 Page ID #:7



                        1    by customers of Matisse. Numerous customers of Matisse, including IBIZA, Mod
                        2    and Proper, Cutworks, Soul Shoetique, and Pursona, subsequently contacted Mr.
                        3    Katz and expressed their confusion by J/Slides’ press release, as those customers
                        4    strongly associated the BEACH Mark with Matisse.
                        5                19.          Customers of Matisse also inquired whether Matisse had sold the
                        6    BEACH Mark, merged with J/Slides, or collaborated with J/Slides in creating the
                        7    Infringing Products, as none of the customers understood the Infringing Mark to be
                        8    separate from Matisse’s BEACH Mark.
                        9                20.          Worse still, Matisse and Defendants will be attending MAGIC, a
                       10    popular tradeshow in Las Vegas frequented by customers of Matisse, and J/Slides’
                       11    booth location is scheduled to face directly across from Matisse’s booth.
RUSS, AUGUST & KABAT




                       12                21.          A true and correct copy of the floor plan for the MAGIC tradeshow is
                       13    attached hereto as Exhibit “B” and incorporated by reference herein.
                       14                22.          Plaintiff is informed, believes and based thereon alleges that
                       15    Defendants’ conduct is willful, wanton malicious and in conscious disregard of
                       16    Plaintiff’s rights.
                       17                                                      Parties
                       18                23.          Matisse is a California corporation with its principal place of business
                       19    at 1550 Franklin Avenue, El Segundo, California 90245. Matisse is the owner of all
                       20    right, title and interest in the BEACH Mark.
                       21                24.          Plaintiff is informed, believes and based thereon alleges that Defendant
                       22    Styleline Studios International Ltd., d/b/a J/Slides and J/Slides NYC, is a foreign
                       23    company organized and existing under the laws of Hong Kong, having a place of
                       24    business at 42/F Bank of China Tower, 1 Garden Road, Central, Hong Kong.
                       25                25.          Upon information and belief, Defendant JSL Studio Intl LLC, d/b/a
                       26    J/Slides and J/Slides NYC, is a limited liability company organized and existing
                       27    under the laws of the State of New York, having a place of business at 55 Lumber
                       28    Road, Roslyn, New York 11576.
                              210804 Beach by Matisse Complaint                   7
                                                                             COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 8 of 16 Page ID #:8



                        1                                              Jurisdiction and Venue
                        2                26.          This is an action for federal unfair competition under 15 U.S.C. §
                        3    1125(a), common law trademark infringement, and unfair competition under
                        4    California state law, which activities have occurred in this district and elsewhere in
                        5    interstate commerce within the United States.
                        6                27.          The Court has subject matter jurisdiction under 28 U.S.C. §1331. This
                        7    Court has jurisdiction over claims in this complaint that arise under California state
                        8    law pursuant to 28 U.S.C. § 1367 as the California state law claims are so related to
                        9    the federal claims that they form part of the same case or controversy and derive
                       10    from a common nucleus of operative fact.
                       11                28.          Defendants are subject to personal jurisdiction in this district and Court
RUSS, AUGUST & KABAT




                       12    because Defendants conduct business in and/or conducted a substantial part of their
                       13    infringing and violating conduct in this district.
                       14                29.          Venue in this district and court is proper pursuant to 28 U.S.C. §1391
                       15    because Defendants conduct business in and/or conducted a substantial part of its
                       16    infringing and violating conduct in this district and because all parties are subject to
                       17    personal jurisdiction and venue in this district and court.
                       18                                              First Claim for Relief:
                       19                      Federal Trademark Infringement (15 U.S.C. § 1125(a)(1)(A))
                       20                30.          Plaintiff re-alleges and incorporates by reference the allegations in the
                       21    foregoing paragraphs as if fully set forth herein.
                       22                31.          Plaintiff has continuously used and is still using its BEACH Mark in
                       23    conjunction with its products. Plaintiff is using its distinctive and unique BEACH
                       24    Mark to identify and distinguish Plaintiff’s footwear products from the footwear
                       25    products of others.
                       26                32.          Since at least 2019, Plaintiff has invested its resources, time and effort
                       27    in advertising and promoting its footwear products using the BEACH Mark in
                       28    interstate commerce. Plaintiff’s footwear products have been and continue to be
                              210804 Beach by Matisse Complaint                   8
                                                                             COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 9 of 16 Page ID #:9



                        1    sold under and in connection with Plaintiff’s BEACH Mark. By virtue of such
                        2    efforts by Plaintiff and Plaintiff’s continuous use of the BEACH Mark, Plaintiff’s
                        3    BEACH Mark has become associated in the minds of consumers and the public with
                        4    Plaintiff and a valuable goodwill has been built up in the BEACH Mark.
                        5                33.          By reason of Plaintiff’s use of the BEACH Mark in connection with its
                        6    footwear products, the public has accepted and become aware of Plaintiff’s BEACH
                        7    Mark in connection with Plaintiff’s footwear products, and Plaintiff’s BEACH Mark
                        8    is distinctive and signifies Plaintiff’s products.
                        9                34.          Notwithstanding Plaintiff’s known and prior rights in its BEACH Mark,
                       10    Defendants adopted and used and are continuing to use a confusingly similar
                       11    Infringing Mark for similar products, which compete in the same market and same
RUSS, AUGUST & KABAT




                       12    channels of trade as those of Plaintiff without Plaintiff’s consent.                Although
                       13    Defendants are not affiliated in any way with Plaintiff, and Defendants’ goods are
                       14    not authorized, licensed, sponsored, or approved by Plaintiff, Defendants have
                       15    replicated Plaintiff’s BEACH Mark in a manner which is substantially identical to
                       16    and confusingly similar to Plaintiff’s BEACH Mark in appearance, spelling, and
                       17    sound, and used in connection with goods that are in the same classes of goods as
                       18    those of Plaintiff. Defendants’ use of the Infringing Mark is therefore confusingly
                       19    similar to Plaintiff’s BEACH Mark and constitutes trademark infringement.
                       20                35.          Further, Defendants have prominently featured the Infringing Mark,
                       21    which is substantially identical and confusingly similar to Plaintiff’s BEACH Mark,
                       22    in advertising, marketing, and selling of Defendants’ Infringing Products.
                       23                36.          Defendants have infringed and continue to infringe upon the rights of
                       24    Plaintiff by marketing, advertising, and distributing their products using the
                       25    Infringing Mark which is identical to and/or confusingly similar to Plaintiff’s
                       26    BEACH Mark in connection with Defendants’ sale, advertising, and marketing of
                       27    the Infringing Products. The goods of Plaintiff and Defendants are all distributed
                       28    through the same and/or related channels of trade and used by the same class of
                              210804 Beach by Matisse Complaint                 9
                                                                            COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 10 of 16 Page ID #:10



                         1    consumers.
                         2                37.          The BEACH Mark is a source of identity associated between Matisse
                         3    and its footwear products, and is entitled to a broad range of protection.
                         4                38.          Defendants have had actual and constructive notice of Plaintiff’s
                         5    BEACH Mark and Plaintiff’s ownership and use of the BEACH Mark in connection
                         6    with its products.                   Upon information and belief, Defendants’ infringement of
                         7    Plaintiff’s BEACH Mark has been intentional and deliberate.
                         8                39.          The infringing use and copying by Defendants of a virtually identical
                         9    and/or confusingly similar mark to that owned by Plaintiff is likely to cause and has
                        10    caused confusion, mistake and/or deception of consumers and the general public, to
                        11    the products offered by Plaintiff and those offered by Defendants. Defendants’
RUSS, AUGUST & KABAT




                        12    copying and use of an identical trademark and/or confusingly similar trademark as
                        13    that used in connection with Plaintiff’s products is likely to confuse and deceive
                        14    consumers, and the public into believing that Defendants’ products are in some way
                        15    backed by, sponsored by, licensed by, authorized by, approved by, franchised by,
                        16    associated with or otherwise connected with Plaintiff. Such conduct is deceiving to
                        17    the public. Such conduct, confusion and deception are causing, and unless enjoined
                        18    by this Court, will continue to cause Plaintiff immediate and irreparable injury and
                        19    damage in an amount presently unknown but to be determined at trial.
                        20                40.          Defendants have intentionally copied and used Plaintiff’s BEACH
                        21    Mark with the intent and result of causing confusion, mistake and deception among
                        22    the consumers and the public as to the source and quality of Plaintiff's goods, and to
                        23    “pass off” Defendants’ goods as those of Plaintiff. Defendants’ acts of trademark
                        24    infringement have been committed willfully with the knowledge that such acts
                        25    infringed upon Plaintiff's rights and with the intent to cause confusion, mistake and
                        26    to deceive consumers and the public.
                        27                41.          Defendants’ infringement of Plaintiff's trademark has been willful, and
                        28    Defendants have intentionally adopted, copied and used Plaintiff's BEACH Mark
                               210804 Beach by Matisse Complaint                    10
                                                                               COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 11 of 16 Page ID #:11



                         1    and engaged in such blatant copying of Plaintiff’s BEACH Mark in connection with
                         2    Defendants’ products in order to trade on the goodwill and reputation and quality
                         3    associated with Plaintiff's products and to “palm off” Defendants’ products as those
                         4    of Plaintiff.
                         5                42.          Plaintiff has no adequate remedy at law unless Defendants’ conduct is
                         6    enjoined by this Court.
                         7                                               Second Claim for Relief:
                         8                                         Common Law Trademark Infringement
                         9                43.          Plaintiff re-alleges and incorporates by reference the allegations in the
                        10    foregoing paragraphs as if fully set forth herein.
                        11                44.          The unique and distinctive BEACH Mark is a common law trademark
RUSS, AUGUST & KABAT




                        12    identifying and signifying products emanating from Plaintiff exclusively.
                        13                45.          The acts of Defendants complained of are acts of unprivileged imitation
                        14    and passing off and constitute common law infringement and unfair competition
                        15    under the federal law and laws of California and of other states in which Defendants
                        16    have sold or have offered to sell the Infringing Products using the Infringing Mark
                        17    complained of herein.
                        18                46.          The aforesaid acts of infringement and unfair competition have caused
                        19    irreparable damage to Plaintiff’s business, reputation and goodwill and will continue
                        20    to do so unless enjoined by this Court. As such, Defendants have been unjustly
                        21    enriched and Plaintiff has suffered damages in an amount within the jurisdictional
                        22    amount of this Court in an amount to be proven at trial.
                        23                47.          Defendants have performed and are threatening to perform unlawful,
                        24    unfair, and fraudulent business practices. Injunctive relief by temporary restraining
                        25    order, preliminary and permanent injunction should be granted. The conduct by
                        26    Defendants, described herein, is continuing, and presents an imminent and
                        27    continuing threat of irreparable injury that cannot be remedied adequately by
                        28
                               210804 Beach by Matisse Complaint                   11
                                                                               COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 12 of 16 Page ID #:12



                         1    ordinary legal remedies, and injunctive relief is necessary to prevent further
                         2    irreparable injury to Plaintiff.
                         3                48.          The aforesaid acts of Defendants were done knowingly and in willful
                         4    and reckless disregard of the rights of Plaintiff, and Defendants’ actions were done
                         5    with malice, oppression and fraud in despicable disregard of the rights of Plaintiff
                         6    and should be punished with an award of exemplary damages in an amount to be
                         7    determined at trial.
                         8                                             Third Claim for Relief:
                         9              False Designation of Origin (Lanham Act, 15 U.S.C. § 1125(a)(1)(A))
                        10                49.          Plaintiff re-alleges and incorporates by reference the allegations in the
                        11    foregoing paragraphs as if fully set forth herein.
RUSS, AUGUST & KABAT




                        12                50.          This claim for relief for false designation of origin and false
                        13    representation arises under 15 U.S.C. § 1125(a)(1)(A).
                        14                51.          Defendants’ conduct, including, but not limited to, Defendants’
                        15    wrongful use and copying of Plaintiff’s BEACH Mark, improperly represents that
                        16    Defendants and Defendants’ products are the same as Plaintiff and Plaintiff's
                        17    products, and/or that Defendants’ products are sponsored by, authorized by and/or
                        18    otherwise affiliated with Plaintiff. Defendants have used and are using in connection
                        19    with goods a false designation of origin and/or a false description or representation,
                        20    including words and/or other symbols tending falsely to describe or represent the
                        21    same and have caused such goods to enter into interstate commerce. Plaintiff has
                        22    been, and is likely to continue to be, damaged by such false description and
                        23    representation by reason of the likelihood that consumers and the public have been
                        24    and/or will be confused, mistaken and/or deceived as to the true source, sponsorship,
                        25    approval, authorization or affiliation of said goods of Defendants.
                        26                52.          The conduct of Defendants complained of herein constitutes false
                        27    designation of origin and/or false representation within the meaning of 15 U.S.C.
                        28    § 1125(a)(1)(A). Such conduct is likely to cause confusion, and/or mistake and
                               210804 Beach by Matisse Complaint                   12
                                                                              COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 13 of 16 Page ID #:13



                         1    deceive the public as to the source, origin, affiliation and sponsorship of Defendants’
                         2    products, all in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125
                         3    (a)(1)(A).
                         4                53.          Defendants’ improper conduct complained of herein has been
                         5    committed willfully with the knowledge that said conduct falsely describes or
                         6    represents their products with the intent to cause confusion or mistake and to deceive
                         7    the consuming public, vendors, manufacturers, distributors or prospective
                         8    franchisees and others.
                         9                54.          Defendants threaten to continue the conduct complained of herein and
                        10    unless enjoined will continue such conduct all to Plaintiff's irreparable damage.
                        11    Plaintiff has no applicable remedy at law and is suffering irreparable harm as a result
RUSS, AUGUST & KABAT




                        12    of the acts complained of herein.
                        13                55.          As a direct and proximate result of Defendants’ conduct, Plaintiff has
                        14    suffered damages in an amount not yet ascertained. The precise amount of said
                        15    damages will be proven at trial.
                        16                                                Fourth Claim for Relief:
                        17                                               Federal Unfair Competition
                        18                56.          Plaintiff re-alleges and incorporates by reference the allegations in the
                        19    foregoing paragraphs as if fully set forth herein.
                        20                57.          Defendants, by their use in commerce of confusingly similar
                        21    trademarks as those of Plaintiff, and false representations, have been and are
                        22    engaging in unfair competition with Plaintiff by unfairly competing with Plaintiff
                        23    and by causing and/or engaging in conduct likely to cause confuse and/or deceive
                        24    the public into believing that there is some affiliation, connection, association,
                        25    origin, sponsorship or approval by Plaintiff of Defendants’ goods. Such conduct
                        26    unfairly competes with Plaintiff by, inter alia, trading on the goodwill and reputation
                        27    of Plaintiff, and/or by confusing and deceiving the public into believing that
                        28
                               210804 Beach by Matisse Complaint                   13
                                                                              COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 14 of 16 Page ID #:14



                         1    Plaintiff's goods and Defendants’ goods are the same or are somehow or in some
                         2    way related, all to the injury and damage of Plaintiff and the public.
                         3                58.          Defendants’ use of trademarks confusingly similar to those of Plaintiff
                         4    and other wrongful conduct constitute federal unfair competition and/or violates 15
                         5    U.S.C. § 1125(a)(1)(B).
                         6                59.          As a direct and proximate result of the violations charged herein,
                         7    Plaintiff has been injured in its business and property. Plaintiff has suffered damages
                         8    including, but not limited to, lost profits and sales, and damage to Plaintiff's business
                         9    reputation and goodwill. The exact amount of damages suffered by Plaintiff as a
                        10    result of Defendants’ unfair competition will be proven at trial.
                        11                                                 Fifth Claim for Relief:
RUSS, AUGUST & KABAT




                        12                      Unfair Competition Under California Statutory and Common Law
                        13                60.          Plaintiff re-alleges and incorporates by reference the allegations in the
                        14    foregoing paragraphs as if fully set forth herein.
                        15                61.          This claim for relief arises under the California law of unfair
                        16    competition, California Business and Professions Code §§ 17200 et seq. and the
                        17    California common law.
                        18                62.          As described herein, Defendants have engaged in acts of unfair
                        19    competition which injure the business, goodwill and contractual and business
                        20    relationships of Plaintiff.
                        21                63.          The acts of Defendants were committed with full knowledge of their
                        22    impropriety and with the intent to injure the business of Plaintiff. Said acts were
                        23    accomplished by means of the deceptive use in connection with Defendants’
                        24    products of a trademark which is confusingly similar to Plaintiff’s trademarks.
                        25    Defendants’ goods compete with those of Plaintiff.
                        26                64.          As a direct and proximate result of Defendants’ violations charged
                        27    herein, Plaintiff has been injured in its business and property. Plaintiff has suffered
                        28    damages including, but not limited to, lost profits and sales, and damage to Plaintiff's
                               210804 Beach by Matisse Complaint                   14
                                                                              COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 15 of 16 Page ID #:15



                         1    business reputation and goodwill.                  The exact amount of damages suffered by
                         2    Plaintiff as a result of Defendants’ conduct will be proven at trial.
                         3                65.          At the time Defendants committed the unlawful acts, Defendants were
                         4    guilty of fraud, oppression, malice and a willful and conscious disregard of the rights
                         5    of Plaintiff in that Defendants willfully adopted and used substantially identical and
                         6    confusingly similar trademarks to those owned by Plaintiff. Defendants committed
                         7    the aforementioned acts of unfair competition with a conscious disregard of the
                         8    rights of Plaintiff and the acts were ratified and authorized by the officers, directors
                         9    and agents of Defendants. Plaintiff has been oppressed and injured and is entitled
                        10    to an award of punitive and exemplary damages in an amount to be proven at trial.
                        11                66.          Defendants’ violations alleged herein are continuing and unless
RUSS, AUGUST & KABAT




                        12    restrained will cause irreparable injury to Plaintiff's business and property for which
                        13    Plaintiff has no adequate remedy of law.
                        14                                                   Prayer for Relief
                        15                Wherefore, Plaintiff prays for relief and judgment against Defendant as
                        16    follows:
                        17                1.           An order enjoining each of Defendants from engaging in, offering
                        18    and/or providing goods or services in connection with any name identical to or
                        19    confusingly similar to Plaintiff’s BEACH Mark, including without limitation
                        20    Defendants’ Infringing Products;
                        21                2.           For an award of Defendants’ gains, profits and advantages derived from
                        22    their trademark infringement and unfair competition, including without limitation
                        23    Defendants’ Infringing Products;
                        24                3.           For treble damages;
                        25                4.           For punitive damages;
                        26                5.           For such other relief as the court deems just, equitable and proper.
                        27                                           JURY TRIAL DEMANDED
                        28                Matisse hereby demands a trial by jury of all issues so triable.
                               210804 Beach by Matisse Complaint                    15
                                                                               COMPLAINT
                       Case 2:21-cv-06330-ODW-AS Document 1 Filed 08/05/21 Page 16 of 16 Page ID #:16



                         1
                         2    DATED: August 5, 2021                        RUSS, AUGUST & KABAT
                                                                           Larry C. Russ
                         3                                                 Irene Y. Lee
                                                                           Timothy M. Baumann
                         4
                         5                                                 By: /s/ Larry C. Russ
                                                                               Larry C. Russ
                         6                                                     Attorneys for Plaintiff
                                                                               MATISSE FOOTWEAR, INC.
                         7
                         8
                         9
                        10
                        11
RUSS, AUGUST & KABAT




                        12
                        13
                        14
                        15
                        16
                        17
                        18
                        19
                        20
                        21
                        22
                        23
                        24
                        25
                        26
                        27
                        28
                               210804 Beach by Matisse Complaint      16
                                                                   COMPLAINT
